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EXHIBIT B
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” CLAIM FOR DAMAGE, INSTRUCTIONS: Please read carefully the instructions on the OMB Holos
reverse side and supply information requested on both sides of this : a
INJ URY, OR DEATH form. Use additional sheet(s) if necessary. See reverse side for
additional instructions. i
1. Submit to Appropriate Federal Agency” 2. Name, address of claimant, and claimant's Personal representative if any |
(See instructions an reverse) Number, Street, City, State and Zip code i
Department of Health & Human Services Dina March, 52 Weaver Road, Manchester, CT 06042
attn: Office of Gen. Counsel Claims & Employment Law Branch
330 C Street, SW Switzer Building, Suite 2600 Attorney Joel Lichtenstein: Koskoff, Koskoff & Bieder, 350 |
Washington, OC 20201 Fairfield Avenue, Bridgeport, CT 06604
3, TYPE OF EMPLOYMENT 4. DATE OF BIRTH 5 MARITAL STATUS 6. OATE AND DAY OF ACCIDENT 7. TIME (A.M. OR P,M)
O MILITARY CIVILIAN [09/14/1973 Married 06/15/2015 Monday 3:06 pm

 

 

 

 

 

&. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the Place of occurrence and
the cause thereof, Use additional! Pages if necessary}

 

 

On June 15, 2015, Dina March was married to Eric R. March, Jr. Dina March continues to be married to Eric R. March, Jr. to
the present day. Dina March is filing a claim of loss of consortium pertaining to negligent surgery occurring on June 15, 2015 at

 

 

9 PROPERTY DAMAGE
NAME AND AODRESS OF OWNER, iF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).

 

NONE
BRIEFLY DESCRIGE THE PROPERTY, NATURE AND EXTENT OF THE OAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY GE INSPECTED
(See instructions on reverse side),

N/A

 

 

 

10, PERSONAL INJURYAVRONGFUL DEATH
STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM IF OTHER THAN CLAIMANT, STATE FHE NAME
OF THE INJURED PERSON OR DECEDENT.

Due to the injuries to Eric R. March, dr., Dina March has been deprived of the companionship and society of her husband all to
her damage. Eric R. March, Jr. is unable to perform many household activities which Dina March is now responsible for, Eric
R. March, Jr. is 100% disabled. Dina March returned to work to supplement their income, then quit to take her of her husband.
Dina March assists her husband in the simpliest of activities such as bathing. Dina March has watched her (continued on pg 2)

 

 

 

 

 

 

 

it WITNESSES
NAME ADDRESS (Number Street, City State and Zip Cade}
12. (See instructions on reverse} AMOUNT OF CLAIM (in dollars}
12a. PROPERTY DAMAGE 12b PERSONAL INJURY l2¢. WRONGFUL DEATH 124 TOTAL (Failure ta specity may cause
forfeiture of your rights}
0.00 '10,000.000 .00 NLA 10.000,.000 .00

 

 

 

 

(CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT Salo AMOUNT IN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM,

 

 

 

 

Ta. SIGMATURE OF ANT (See instructions on reverse side} 136 PHONE NUMBER OF PERSON SIGNING FORM [14 DATE OF SIGNATURE
if 203° 3H 4YSUN tg fiz
Lv CIVIL PENALTY FOR PRESENTING CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
FRAUDULENT CLAIM CLAIM OR MAKING FALSE STATEMENTS
The claimant ts lable fo the United States Government fer a civil Penalty cf netless than Fine impnscnment, crteth (See 18 USC 287 1001 j
55.000 and not mere than $10 000 plus 3 times the amount of damages sustained
by the Government. (See 31 USC 3729}

 

 

 

STANDARD FORM 95 (REV 2/2007)
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28 CFR t42

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95-109
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INSURANCE COVERAGE

 

In order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property

 

1§ Do you carry accident Insurance? {3} Yes if yes, give name and address of insurance company (Number, Street, City, State, and Zip Cede) and policy number No

NIA

 

18. Have you filed a claim with your insurance carrier in this instance, and if so, \s it full coverage or deductible?

N/A

47. If deductible state amount.

E 4 Yes No

 

 

18, fa claim has been filed with your cartier what action has your insurer taken or proposed to take with reference to your claim? (itis necessary that you ascertain these facts)

NIA

 

19. Do you cary public liability and property damage insurance? 7] Yes

NIA

f yes give name and address of insurance carrier (Number, Street, City. State and Zip Cade) No

 

INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate

claim form.

Complete all items - Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TC HAVE BEEN PRESENTED WHEN A FEDERAL
AGENCY RECEIVES FROM A CLAIMANT. HIS DULY AUTHORIZED AGENT OR LEGAL
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY 4 CLAIM FOR MONEY

Failure to complately execute this form or to supply the requested material within
two years from the date the claim accrued may render your claim Invatid. A claim
is deemed presented when it is received by the appropriate agency, not when it Is
mailad.

If instruction is needed in completing this form, the agency listed n item #1 on the reverse
side may be centacted Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Tile 28 Code of Federal Reguiations Part 14
Many agencies have published supplementing regutations tf more than cne agency 1s
invelved, please state each agency

The claim may be filled by a duly authorized agent or sther legal representative provided
avidenca satisfactory to the Government is submitted with the claim estab’ shing express
authority to act for the claimant. A claim presented by an agent or legal representative
must be presented in the name of the claimant. ff the claim is signed by the agent or
legal representative, it must snow the title or legal capacity of the person signing and ce
accompanied by evidence of his/her autherity to present a claim on cehalf of the claimant
as agent, executor, administrater parent. guardian or other representative

if claimant intends to file fer beth personal injury and property damage the amcunt for
each must be shown in item number 12 cf this form

DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
INJURY. OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT
THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
TWO YEARS AFTER THE CLAIM ACCRUES

The amount claimed should be substantiated by competent evidence as follows

(a) in suppert of the claim for personal injury or death, the claimant should submit a
written report by the attending physician, showing the natura and extent of the injury the
nature and extent of treatment, the degree of permanent disability, sf any the prognosis
and the geried of hespitatization, or incapacitation. attaching itemized bilis for medical
hospital, or burial expenses actually incurred

jo) in suppert of claims fer damage to property which has been or can te ecenemically
fepaired the claimant should submut at least two itemized signed statements or estimates
by reliable disinterested concerns or if sayment has been made the temized signed
receipts evidencing payment

(¢] In support of claims for damage to property which is not aconcmically repairatle or if
tha propery is fost or dastreyed, the claimant should submaut statements as to the argina
cost of the property the date cf purchase and the value cf the property Doth before and
after the accident. Such statements shculd be by disinterested competent persons
preferably reputable dealers or cffic:als fami ar with the type of property damaged. or by
two or more ccmpetitive bidders and sheuld be certified as being just and correct.

(g) Faiture to specify a sum certain will render your claim invalid and may result in
forfeiture of your rights.

 

PRIVACY ACT NOTICE

This Notice is provided in accordance with the Privacy Act, SUS C $52a{2 (3 and
sencerrs the information requested in the letter to which this “lctca s attached
A Authenty Tre requested rfermation is scheited pursuart tc ore or Tere sftre
following SUSC 301 28USC S01etseq 29USC 267letseq 28C FR
Part 14.

 

8 Fnncipal Pureese The nfermatin requested is to be used in evaluating claims

C Reutre use See the sictces cf Systems cf Records fer the agency to whem you a2
sutrmitieg this form fee this rfziratce

© Effect of Fadure te Respond Ciscicsura is voluntary However fasure to supeiy the
requested information or to execute the form may render your claim “invalid ~

 

 

PAPERWORK REDUCTION ACT NOTICE

This notice is solely for the purpcse of the Paperwork Reduction Act, 44.U 5 C 3501 Public reperting burden fer this collectien ef nformaticn is estimated to average 6 nours per
response including the time for reviewing instructions, searching evisting tata sources gathenng and mamtaining the data needed and completing and reviewing the collection of
informaton. Send comments regarding this burden estimate cr any other aspect of this cellecten of information. including suggesticns fer reducing this burden to the Orrector Torts
Granch, Attention: Paperwork Reduction Staff, Civil Division US Department of Justice, Wasitingten CC 20530 or ta the Cffice of Management and Budget. Oo not mail completed

form(s) to these addresses.

 

STANDARD FORM 95 REV (2.2007) BACK

 
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Continued from Section 10

husband suffer through a long and protracted physical and psychological recovery
period. She deals with his PTSD, short term memory loss and forgetfulness on a daily
basis. Sexual relations are no longer possible due to her husband's painful ejaculations
and inability to maintain a strong core for different positions.
